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 1                                                           THE HONORABLE RICHARD A. JONES
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                         No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                             DECLARATION OF JESSICA BONAFILIA
     KYASHNA-TOCHA, ALEXANDER                            IN SUPPORT OF PLAINTIFFS’ MOTION
11   WOLDEAB, NATHALIE GRAHAM,                           FOR CONTEMPT
     AND ALEXANDRA CHEN,
12
                              Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                              Defendant.
16

17
              I, Jessica Bonafilia, declare and state as follows:
18
              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
20
              2.       I am a resident of Seattle, Washington. I have been involved with the protests
21
     against police violence and systemic racism in Seattle since May 30, 2020.
22
              3.       I have attended approximately 25 protests in Seattle since May 30, 2020. I was
23
     exposed to tear gas at protests on several nights in early June, as well as pepper spray from blast
24
     balls.
25

26

      BONAFILIA DECL. ISO MOT. FOR                                                Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –1                                   1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
     148989502.1                                                                 Fax: 206.359.9000
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 1            4.       I attended the protest march on Saturday, July 25, 2020, that started near
 2   Broadway and Pine Street at Seattle Central Community College. I joined the march around 1:30
 3   p.m.
 4            5.       We marched down to the youth jail and then back toward Cal Anderson Park on
 5   Capitol Hill. Once we got to the East Precinct at 12th Avenue and Pine Street, the police started
 6   throwing flash bangs at us.
 7            6.       The police forced the portion of the protestors that I was with westward on Pine
 8   Street, past Rancho Bravo. No instructions or warnings were given before the grenades started
 9   going off. There were no dispersal orders.
10            7.       I saw police officers throwing blast balls overhand into the crowd
11   indiscriminately.
12            8.       I was standing about ten rows back in the crowd of protestors, approximately ten
13   feet from the front line. The entire crowd was trying to move back away from the police and the
14   explosions, and I was also retreating. I was terrified of the number of blast balls and explosions
15   going off, which were more than I had seen at any other protest this summer.
16            9.       Suddenly, a blast ball came from overhead and landed on my leg right as it
17   exploded. The force was strong enough that it knocked me to the ground and ripped holes
18   in my jeans, shirt, and jacket. This was at approximately 4:40 p.m.
19            10.      Attached as Exhibit A is a true and correct copy of a photograph I took on July
20   25, 2020, of my leg and pants after I was hit with the blast ball.
21            11.      I was momentarily stunned and had to scramble to get off the ground and figure
22   out what had just happened. I went to Cal Anderson Park and saw what looked like a bloody hole
23   in my leg. I rinsed it with water. It burned, but I had too much adrenaline to really feel the pain at
24   that time.
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      BONAFILIA DECL. ISO MOT. FOR
                                                                                 Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –2                                  1201 Third Avenue, Suite 4900
                                                                             Seattle, WA 98101-3099
                                                                               Phone: 206.359.8000
     148989502.1                                                                Fax: 206.359.9000
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 1            12.      While we were retreating from the blast balls, the police kept grabbing whomever
 2   they could from the front of the retreating line and were arresting them. It looked haphazard, like
 3   they were grabbing whomever was closest to them.
 4            13.      About two and a half hours later I was able to find a bathroom to remove my
 5   pants and look at the wound more closely. I saw that both my thighs were covered with blood
 6   and burns. You can see the explosion pattern of the blast ball in the bruises and burns.
 7            14.      Attached as Exhibits B and C are true and correct copies of additional
 8   photographs I took on July 25, 2020, of my legs after they were hit with the blast ball.
 9            15.      That night I was in severe pain in my legs due to the blast ball explosion. When I
10   woke up the following morning, my legs had very tight pain, and occasional very sharp pains.
11   Given the pain and the burns, I called my health insurance company’s nurse-line, and the nurse
12   recommended that I go to the ER, which I did.
13            16.      The doctor told me that I have first and second degree burns on my leg. The
14   doctor also said it was difficult to tell what was a burn and what was an injury from the impact of
15   the hit. The doctors and nurses said they had never seen anything like my injury. They had
16   to teach me how to clean and dress the wounds.
17            17.      I attended the protest on July 25, 2020, with seven other people. Though we were
18   not at the front of the protest and were all about ten rows back, four of the eight of us were hit
19   with projectiles in some fashion.
20
              Executed this 27th day of July 2020 at Seattle, Washington.
21
              I declare under penalty of perjury under the laws of the United States and the State of
22
     Washington that the foregoing is true and correct.
23

24
                                           By:________________________
25
                                                 JESSICA BONIFILIA
26

      BONAFILIA DECL. ISO MOT. FOR
                                                                                  Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –3                                   1201 Third Avenue, Suite 4900
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           EXHIBIT A
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           EXHIBIT B
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           EXHIBIT C
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